Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  1 of
                                                        1 of 10    10 PageID:
                                                                PageID: 2775841



PAUL J. FISHMAN
United States Attorney
By: JORDAN M. ANGER
Assistant U.S. Attorney
970 Broad Street, Suite 700
Newark, NJ 07102
(973) 645-2829
                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

Newark Violations Bureau,
                                             :       Hon.
               Plaintiff,
       v.                                    :       Civil Action No.

United States Postal Service,                :       NOTICE OF REMOVAL

               Defendant.                    :


       TO:     Newark Violation Bureau               Essex County Prosecutor’s Office
               Municipal Court of Newark             Veteran’s Courthouse
               31 Green Street                       50 West Market Street
               Newark, New Jersey 07102              Newark, New Jersey 07102

               Municipal Court of Newark
               31 Green Street
               Newark, New Jersey 07102

       Defendant, the United States of America, acting on behalf of the United States Postal

Service (hereinafter "Postal Service"), through its undersigned counsel, hereby removes this

action pursuant to 28 U.S.C. § 1442(a)(1) and, in support thereof, states as follows:

       1. The United States Postal Service is an agency of the federal government of the United

States of America.

       2. In this action, Plaintiff the Newark Violation Bureau, acting through the Newark

Police Department (“Newark”), issued three separate “complaint-summons” to Manuel Lizardo,

a Letter Box Mechanic for the Postal Service, on February 22, 2012, while he driving a Postal
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  2 of
                                                        2 of 10    10 PageID:
                                                                PageID: 2775852



Service Vehicle. The complaint-summonses were issued while Mr. Lizardo was acting within

the scope of his duty as an employee of the Postal Service. Specifically, the complaint-

summonses allege that: (1) the Postal Service vehicle was unregistered; (2) Mr. Lizardo failed to

wear a seatbelt; and (3) was operating a cellphone. As a result of this traffic stop, the Newark

Police Department impounded the Postal Service vehicle. The vehicle has since been retrieved

by the Postal Service.

       3. The United States, through Mr. Lizardo, was served with the complaint-summonses

on Febtruary 22, 2012 by Newark Police Officer L. Oyola, badge # 7857. Copies of the

complaint-summonses are attached hereto as Exhibit 1.

       4. This case presents a claim against an agency of the United States, in that the Postal

Service is an agency of the federal government and its employee was acting within the scope of

his employment, and thus is removable to the United States District Court under 28 U..C. §

1442(a)(1). Specifically, Postal Service vehicles - as well as all vehicles owned and operated by

the United States - need not register in the state in which they are operated.

       5. With regard to the remaining complaint-summonses alleging failure to wear a seatbelt

and operating a cellphone, as Mr. Lizardo was acting within the scope of his employment, this

action is removable to the United States District Court under 28 U..C. § 1442(a)(1). Further, this

Court could exercise supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a). Specifically, all

three complaint-summonses arise from the same incident and, therefore, are part of the same

case and controversy.

       6. As this removal is under 28 U.S.C. § 1442(a)(1), removal is proper without the need

for the consent of any other party. Akin v. Ashland Chem. Co., 156 F.3d 1030, 1034 (10th


                                                 2
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  3 of
                                                        3 of 10    10 PageID:
                                                                PageID: 2775863



Cir.1998); Doe v. Kerwood, 969 F.2d 165, 168 (5th Cir.1992); Ely Valley Mines, Inc. v. Hartford

Accident and Indem. Co., 644 F.2d 1310, 1314-15 (9th Cir.1981); Bradford v. Harding, 284 F.2d

307, 310 (2d Cir.1960).

       7. A copy of this Notice is being filed with the Municipal Court of Newark; copies are

also being served on the plaintiff.

                                                   PAUL J. FISHMAN
                                                   United States Attorney

                                                    /s / Jordan M. Anger
                                                   JORDAN M. ANGER
                                                   Assistant U.S. Attorney
Dated: March 19, 2012




                                               3
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  4 of
                                                        4 of 10    10 PageID:
                                                                PageID: 2775874




                         EXHIBIT 1
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  5 of
                                                        5 of 10    10 PageID:
                                                                PageID: 2775885
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  6 of
                                                        6 of 10    10 PageID:
                                                                PageID: 2775896
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  7 of
                                                        7 of 10    10 PageID:
                                                                PageID: 2775907
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  8 of
                                                        8 of 10    10 PageID:
                                                                PageID: 2775918
Case2:33-av-00001
Case 2:12-cv-01696-CCC-JAD  Document
                   Document 14410    1 03/19/12
                                  Filed Filed 03/19/12
                                                   Page Page  9 of
                                                        9 of 10    10 PageID:
                                                                PageID: 2775929
     2:12-cv-01696-CCC-JAD
Case 2:33-av-00001  Document Document 1 Filed
                             14410 Filed      03/19/12
                                         03/19/12  PagePage
                                                        10 of10
                                                              10of 10 PageID:
                                                                 PageID:      10
                                                                         277593
